                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE

In re:                                               )
JOSHUA HUTCHINSON, and                               )
ALLYSHA HUTCHISON                                    )       CASE NO. 16-05686
7443 CHOWING RD                                      )       CHAPTER 13
SPRINGFIELD, TN 37172                                )       JUDGE WALKER
XXX-XX-0577; XX-XX-4359                              )

 ORDER GRANTING DEBTORS’ MOTION TO SURRENDER PERSONAL PROPERTY AND GRANT
                     RELIEF FROM THE AUTOMATIC STAY

               Debtors filed a Motion to Surrender Personal Property, a 2008 Yamaha XVS65XB/C,

and Grant Relief from the Automatic Stay to Synchrony Bank, Attn: Bankruptcy Department, P.O. Box

530912, Atlanta, GA 30353-0912. Notice was mailed pursuant to LBR 9013-1 and no responses or

objections to the motion were filed.

               IT IS ORDERED that the Motion to Surrender Personal Property is granted.

               1. Debtors will surrender the 2008 Yamaha XVS65XB/C to Synchrony Bank, Attn:

                   Bankruptcy Department, P.O. Box 530912, Atlanta, GA 30353-0912.

               2. Said vehicle is currently in the Co-Debtor’s possession.

               3. THE PAYMENTS TO SYNCHRONY BANK, Attn: Bankruptcy Department, P.O.

                   Box 530912, Atlanta, Ga 30353-0912 SHALL BE TEMPORARILY SUSPENDED

                   UNTIL THE CREDITOR FILES THEIR AMENDED CLAIM.

               4. Synchrony Bank, Attn: Bankruptcy Department, P.O. Box 530912, Atlanta, GA

                   30353-0912, shall amend its claim within 90 days of the entry of this order granting

                   this motion. Should an amended claim not be filed, the claim will be deemed to have

                   been satisfied in full by the surrender of the collateral and no other payments will be

                   paid on the claim. Should an amended claim be timely filed, reflecting the amount of

                   the proceeds received and the resulting deficiency balance to be paid, said claim will

                   be paid in accordance with the confirmed plan.




   Case 3:16-bk-05686        Doc 58    Filed 06/12/17 Entered 06/12/17 11:45:11             Desc Main
                                       Document     Page 1 of 2
         5. Relief from the Automatic Stay of 11 U.S.C. 523 is granted to Synchrony Bank, Attn:

             Bankruptcy Department, P.O. Box 530912, Atlanta, GA 30353-0912.



    This Order was signed and entered electronically as indicated at the top of this page.




   SUBMITTED FOR ENTRY BY:

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Case 3:16-bk-05686     Doc 58    Filed 06/12/17 Entered 06/12/17 11:45:11           Desc Main
                                 Document     Page 2 of 2
